  Case 21-00059       Doc 27  Filed 02/07/22 Entered 02/08/22 10:08:27                      Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                                          )   BK No.:      19-13287
JAMES COSMANO                                                   )
                                                                )   Chapter: 7
                                                                )
                                                                    Honorable A. Benjamin Goldgar
                                                                )
                                                                )
                                     Debtor(s)                  )
JAMES COSMANO                                                   )   Adv. No.: 21-00059
                                                                )
                                                                )
                                     Plaintiff(s)
UNITED STATES OF AMERICA                                        )
                                                                )
                                                                )
                                     Defendant(s)               )

                           ORDER GRANTING MOTION TO EXTEND
                               FACT DISCOVERY DEADLINE

        This matter coming before the court on the motion of defendant United States to extend the
discovery deadlines in this proceeding, due notice having been given, and the court being fully advised,
for the reasons stated on the record IT IS HEREBY ORDERED:

  The motion is granted. The fact discovery deadline in the court's June 29, 2021 is extended to April
11, 2022. The deadline may be extended again for cause.

  A status hearing is set for April 11, 2022, at 10:00 a.m.




                                                              Enter:


                                                                        Honorable A. Benjamin Goldgar

Dated: February 07, 2022                                                United States Bankruptcy Judge

 Prepared by:
 NOAH D. GLOVER-ETTRICH
 Trial Attorney
 Tax Division, U.S. Department of Justice
